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          EXHIBIT 50
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

  DONNA CURLING, et al.,

         Plaintiffs,                                 CIVIL ACTION FILE
  v.
                                                     No. 1:17-cv-2989-AT
  BRAD RAFFENSPERGER, et al.,

         Defendants.


             STATE DEFENDANTS’ RESPONSES TO CURLING
             PLAINTIFFS’ FIRST REQUESTS FOR ADMISSION
       In accordance with Rules 26 and 36 of the Federal Rules of Civil Procedure,

Defendants Brad Raffensperger, Rebecca N. Sullivan, Sara Tindall Ghazal, Anh Le,

and Matthew Mashburn (collectively, the “State Defendants”), by and through their

counsel of record, hereby respond and object to Curling Plaintiff’s First Requests for

Admission.

                         PRELIMINARY STATEMENT

       State Defendants do not waive, intentionally or otherwise, any attorney-client

privilege, work-product immunity, joint defense or common-interest privilege or any

other privilege, immunity, or other protection that may be asserted to protect

information from disclosure. Any admissions made herein, particularly as to the
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one or more components of the DRE system.

      RESPONSE: State Defendants object to this request as it seeks responses

pertaining to claims that Plaintiffs now admit are moot. State Defendants object to

this request as vague and ambiguous regarding what is meant by removable media

“connected at some point” and the term “components” as it pertains to the eNet

System and DRE System. As such, State Defendants cannot truthfully admit or deny

this request as phrased. As State Defendants have already stated, eNet is separate

from the DRE system.



      65.    Admit that security deficiencies or vulnerabilities identified by

Fortalice with the eNet System have not been fully mitigated.

      RESPONSE: State Defendants object to this request as outside the scope of

Rule 36 because it does not pertain to the truth of any matter relevant to Curling

Plaintiffs’ claims in this case, and thus is an improper use of a request for admission.



      66.    Admit that in some jurisdictions in Georgia, the same County IT

infrastructure is being used to copy data in and out of the new Dominion EMS system

as was used with the GEMS System.

      RESPONSE: State Defendants object on the basis that the request itself


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Defendants further object to this request as outside the scope of Rule 36 because it

does not pertain to the truth of any matter relevant to Curling Plaintiffs’ claims in

this case, and thus is an improper use of a request for admission. State Defendants

deny this request.



      Submitted this 23rd day of November, 2021.

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